This is a motion by the defendant for an order directing the entry of judgment in favor of the defendant, under Rule 27, upon the ground that the Supreme Court of the United States (49 S.Ct., 35,73 L.Ed. —) has reversed the judgment of this Court which sustained the judgment of the Court of Common Pleas for Charleston County in favor of the plaintiff; the defendant having appealed from said judgment upon the ground of error in not sustaining the motion for a directed verdict based upon the grounds: (1) That there was no evidence in the case tending to show negligence on the part of the defendant; and (2) that the evidence showed that the injury sustained by the intestate was due to the risks of his employment assumed by him.
The judgment of the United States Supreme Court was in these words: "Per Curiam. Reversed and remanded for a new trial on the authority of (1) Chicago, M.  St. P.R.Co. v. Coogan, 271 U.S. 472, 70 L.Ed., 1041,46 S.Ct., 564; (2) Southern P. Co. v. Berkshire, 254 U.S. 415,65 L.Ed., 335, 41 S.Ct., 162; Chesapeake  Ohio R. Co. v.Leitch, 276 U.S. 429, 72 L.Ed., 638, 48 S.Ct., 336; (3)Gulf, C.  S.F.R. Co. v. Mosler, 275 U.S. 133,72 L.Ed., 200, 48 S.Ct., 49."
The mandate of the United States Supreme Court was in these words: "It is now here ordered and adjudged by this Court that the judgment of the said Supreme Court in this cause be, and the same is hereby, reversed with costs. * * * And it is further ordered that this cause shall be, and the same is hereby, remanded to the Supreme Court of the State of South Carolina for a new trial."
The motion is resisted by the plaintiff upon the ground that the judgment and mandate of the Supreme Court of the United States direct a new trial of the case in the Court of Common Pleas for Charleston County. *Page 120 
The Act of Congress (Section 344, Mason's U.S. Code, tit. 28) provides: "The Supreme Court may reverse, modify, or affirm the judgment or decree of such State Court, and may, in its discretion, award execution or remand the cause to the Court from which it was removed by the writ."
Under the Statute, I think that the Supreme Court of the United States was without authority to direct that a new trial be had in the Court of Common Pleas, and that so much of its judgment and mandate is a nullity if such was intended, manifestly an inadvertence. It follows that the effect of the judgment was simply a reversal of the judgment of the Supreme Court of South Carolina, the effect of which was to establish the status which would have been created by the rendition of what has been held to have been the proper judgment.
The result of this was necessarily to sustain the appeal of the defendant from the refusal of the Circuit Court to grant its motion for a directed verdict; and, under Rule 27 of this Court, the case should be remanded to the Circuit Court with direction to enter a verdict in favor of the defendant under said rule.
Under similar conditions in the Coogan case, the judgment of the Supreme Court of the United States was, "Judgment reversed"; in the Missouri Pac. R. Co. v. AebyCase, 275 U.S. 426, 48 S.Ct., 177, 72 L.Ed., 351, the same: in the Mosler Case, 275 U.S. 133, 48 S.Ct., 49,72 L.Ed., 200. "The judgment below is reversed, and the cause will be remanded to the Court * * * for further proceedings not inconsistent with this opinion"; in the LeitchCase, 276 U.S. 429, 48 S.Ct., 336, 72 L.Ed., 638, and in the Berkshire Case, 254 U.S. 415, 41 S.Ct., 162,65 L.Ed., 335, "Judgment reversed" — all of which were in conformity with the statute above quoted.
Writ of error and not mandamus is the proper remedy to review the action of a State Court in giving effect to the mandate of the United States Supreme Court. In re Blake,175 U.S. 114, 20 S.Ct., 42, 44 L.Ed., 94. *Page 121 